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14                            UNITED STATES DISTRICT COURT

15                                  DISTRICT OF ARIZONA
16   Jane Doe, by her next friends and parents            Case No. 4:23-cv-00185-JGZ
17   Helen Doe and James Doe; and Megan Roe,
     by her next friends and parents; Kate Roe
18   and Robert Roe,                                 DEFENDANT THOMAS C. HORNE’S
                                                    MOTION FOR SUMMARY JUDGMENT
19                             Plaintiffs,
20    v.
21
     Thomas C. Horne, in his official capacity as
22   State Superintendent of Public Instruction;
     Laura Toenjes, in her official capacity as
23   Superintendent of the Kyrene School
24   District; Kyrene School District; The
     Gregory School; Arizona Interscholastic
25   Association, Inc.,
26                             Defendants.
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 1         Defendant Thomas C. Horne, in his official capacity as State Superintendent of Public
 2 Instruction (“Defendant Horne”), by and through undersigned counsel hereby moves for summary
 3 judgment, and by this motion to dismiss Plaintiffs’ Jane Doe and Megan Roe (“Plaintiffs”) claims
 4 for relief under Title IX, Count II of their Complaint, for the reasons set forth in the accompanying
 5 Memorandum of Points and Authorities and the Separate Consolidated Statement of Undisputed
 6 Material Facts (“SOF”). Defendant Horne also hereby joins the summary judgment motion filed
 7 by President of the Arizona State Senate Warren Petersen and Speaker of the Arizona House of
 8 Representatives Steve Montenegro (referred to as the “Legislative Leaders”), also incorporated in
 9 this motion. Based on arguments presented in both motions, the Court shall grant summary
10 judgment against Plaintiffs.
11         This Motion is brought pursuant to Federal Rules of Civil Procedure, Rule 56, and is
12 supported by the following Memorandum of Points and Authorities, the Motion for Summary
13 Judgment by the Legislative Leaders, and the accompanying SOF.
14         RESPECTFULLY SUBMITTED on April 30, 2025.
15                                            WILENCHIK & BARTNESS, P.C.
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2         I.     INTRODUCTION
 3         On January 20, 2025, President Trump issued an Executive Order, Defending Women from
 4 Gender Ideology Extremism and Restoring Biological Truth to the Federal Government. Pursuant
 5 to this Order, the United States Department of Education (“ED”) and Office for Civil Rights
 6 (“OCR”) is enforcing Title IX consistent with President Trump’s Order to “enforce all sex-
 7 protective laws to promote [the] reality” that there are “two sexes, male and female,” and that
 8 [t]hese sexes are not changeable and are grounded in fundamental and incontrovertible reality.”
 9 Pursuant to the Executive Order, any investigations initiated under the prior 2024 Title IX Rule
10 should be immediately reevaluated to ensure consistency with the 2020 Title IX Rule, which
11 reflects the sentiment that there are two biological sexes, male and female.
12         On February 5, 2025, President Trump signed an Executive Order, Keeping Men Out of
13 Women’s Sports. This Order clarifies that the policy of the United States is to rescind all funds
14 from educational programs that deprive women and girls of fair athletic opportunities and that the
15 definitions in the Executive Order 14168 from January 20, 2025, control and apply. The current
16 directive is to define ‘sex’ by “two sexes, male and female,” which are “not changeable.” This
17 guidance follows federal court precedent that “ignoring fundamental biological truths between the
18 two sexes deprives women and girls of meaningful access to educational facilities.” See Tennessee
19 v. Cardona, 24-cv-00072 at 73 (E.D. Ky. 2024). See also Kansas v. U.S. Dept. of Education, 24-
20 cv-04041 at 23 (D. Kan. 2024)(highlighting “Congress’ goals of protecting biological women in
21 education”).
22         Further, according to the February Executive Order, actions will be prioritized against such
23 educational institutions that deny female students an equal opportunity to participate in sports,
24 “by requiring them [female students] to compete with or against or to appear unclothed before
25 males.” In fact, the Ninth Circuit recently spoke on the importance of this inherent privacy when
26 determining whether legislation was compliant with Title IX: “[t]he privacy interest in avoiding
27 bodily exposure is most strongly implicated in locker rooms and communal shower rooms that
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 1 lack curtains or stalls.” See Roe v. Critchfield, No. 23-2807, 2025 WL 865721, at *3 (9th Cir. Mar.
 2 20, 2025)
 3         This Court cannot find that Defendant Horne is in violation of Title IX by enforcing the
 4 Save Women’s Sports Act, since this legislation is consistent with President Trump’s February 5,
 5 2025 directive that under Title IX, “educational institutions receiving Federal funds cannot deny
 6 women an equal opportunity to participate in sports.”
 7         II.    RELEVANT BACKGROUND AND FACTS
 8         Plaintiffs’ Complaint filed on April 17, 2023, as against Defendant Horne, includes
 9 violations of Equal Protection, Title IX, the Americans with Disabilities Act, and the
10 Rehabilitation Act for enforcement of the Save Women’s Sports Act (“SWSA”). The SWSA
11 allows any athletic team or sport, sponsored by a public school or a private school whose students
12 or teams compete against a public school, to designate the team based on the biological sex of the
13 students who participate in the team or sport, which includes the two sexes in addition to “coed”
14 or “mixed” teams, which are inclusive of both. Explicitly, the Act states: “Athletic teams or sports
15 designated for ‘females’, ‘women’ or ‘girls’ may not be open to students of the male sex.” See
16 SOF ¶ 1; SWSA, at § 15-120.02(B).
17         Plaintiffs are two biological boys who play on girls’ sports teams. Plaintiffs’ complaint
18 does not contemplate the possibility of either Plaintiff being able to play on a co-ed or mixed team.
19 Plaintiffs’ Count II is against all Defendants for a violation of Title IX, 20 U.S.C. § 1681 et seq.
20 Plaintiffs allege that under Title IX, “discrimination ‘on the basis of sex’ encompasses
21 discrimination against individuals because they are transgender.” (citing Doe v. Snyder, 28 F.4th
22 103, 114 (9th Cir. 2022). In a parenthetical, Plaintiffs claim the Court in Doe v. Snyder holds that
23 discrimination against transgender individuals violates Title IX.
24         Title IX provides the exact opposite of what Plaintiffs claim; it protects girls and women
25 to afford them the opportunity to compete and to excel, without facing any harm of having to
26 compete against biological boys.
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 1         III.     LEGAL ARGUMENT
 2                 A.     SUMMARY JUDGMENT
 3         The Court shall grant summary judgment if the movant shows there is no genuine dispute
 4 as to any material fact and the movant is entitled to judgment as a matter of law. See F.R.C.P.
 5 56(a). The nonmoving party must go beyond the pleadings and do more than simply show there
 6 is some ‘metaphysical doubt’ as to the material facts. See Scott v. Harris, 550 U.S. 372, 380
 7 (2007)(citing to Matsushita Elec. Indust. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986)).
 8 Where the record, taken as a whole, could not lead a rational trier of fact to find for the nonmoving
 9 party, there is no genuine issue for trial. See id. The mere existence of some alleged factual dispute
10 between the parties will not defeat an otherwise properly supported motion for summary
11 judgment. Id. (citing to Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986))(emphasis
12 in original). In short, when there are two different stories, “one of which is blatantly contradicted
13 by the record so that no reasonable jury could believe it, a court should not adopt that version of
14 the facts when ruling on a motion for summary judgment.” Scott, 550 U.S. at 380. For the reasons
15 set forth here, there is no genuine issue for trial as to Plaintiffs’ requested relief.
16                 B.     COUNT II OF PLAINTIFFS’ COMPLAINT FOR VIOLATION OF
                          TITLE IX OF THE EDUCATION AMENDMENTS OF 1972 MUST
17                        BE DISMISSED
18         On June 23, 1972, Congress enacted Title IX of the Education Amendments in response to
19 the discrimination of women in educational programs and activities: “No person in the United
20 States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or
21 be subjected to discrimination under any education program or activity receiving Federal
22 Financial assistance . . . .” See 20 U.S.C. § 1681(a)(emphasis added). At Title IX’s inception,
23 Senator Birch Bayh of Indiana first introduced the amendment to Senate to end “discrimination
24 against women in the American educational system.” 118 Cong. Rec. 5803 (1972). A year before
25 Sen. Bayh’s amendment, Representative Edith Green of Oregon had attempted to also introduce
26 a higher education bill to prohibit sex discrimination after a special House Subcommittee on
27 Education      regarding    discrimination     against   women.      Cong.     Rec.       H4218   (1997),
28 www.congress.gov/crec/1997/06/23/CREC-1997-06-23-pt1-PgH4218.pdf. The House Education

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 1 and Labor Committee had presented a large body of evidence of discrimination against girls and
 2 women in our education system. Id. The text of Title IX, and the February 5, 2025 Executive
 3 Order, further confirms that the purpose behind Title IX was to protect women and girls from
 4 discrimination and refer to sex as biological.
 5         By its plain language, Title IX’s ‘exemptions’ refer to sexes as ‘one sex’, ‘one sex only’,
 6 or ‘both sexes’ or using the following language: ‘girls’, ‘boys’, ‘women’, ‘men’, ‘son’, and
 7 ‘daughter’. See 20 U.S.C. § 1681(a)(5), (a)(A)(2), (a)(6)(A)-(B), (a)(7)-(9), (c). The statute clearly
 8 did not contemplate those that identify as transgender when it was enacted. Title IX’s enactment
 9 was during the women’s liberation movement in the 1970s with its purpose to prevent
10 discrimination against women in the educational system. See 118 Cong. Rec. 5803 (1972). In
11 addition, almost all “[r]eputable dictionary definitions of ‘sex’ from the time of Title IX’s
12 enactment show that when Congress prohibited discrimination on the basis of ‘sex’ in education,
13 it meant biological sex.” Adams ex rel. Kasper v. School Board of St. Johns County, 57 F.4th 791,
14 812 (11th Cir. 2022) (en banc) (citing six dictionaries). Therefore, at the time Congress passed
15 Title IX, everyone understood that “sex, like race and national origin, is an immutable
16 characteristic determined solely by the accident of birth.” Frontiero v. Richardson, 411 U.S.
17 677, 686 (1973) (plurality opinion) (emphasis added).
18         While the Supreme Court has found sex discrimination encompasses discrimination based
19 on transgender status under Title VII, Title IX does not leave open the interpretation of ‘sex’ as
20 defined in the same sense that Title VII does when looking at the statute as a whole. See Tennessee
21 v. Cardona, 2024 WL 3453880 *2 (6th Cir. 2024)(referring to Bostock v. Clayton County, Georgia,
22 590 U.S. 644, 660 (2020)). In fact, by its plain text, Title IX only refers to ‘individuals’ when it
23 refers to ‘individuals of one sex only’ or refers to educational institutions training individuals for
24 the military, enumerated in its exceptions. See 20 U.S.C. § 1681 (a)(4), (a)(9). When interpreting
25 the statutory language, as a whole, Title IX specifically exempts “any program or activity of any
26 secondary school or educational institution specifically for – (i) the promotion of any Boys State
27 conference, Boys Nation Conference, Girls State Conference, or Girls Nation conference.” See id.
28 at § 1681(a)(7)(Boy or Girl conferences). The statute specifically and unequivocally refers to

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 1 gender in the biological sense as male and female. Furthermore, this is consistent with the current
 2 executive guidance on Title IX.
 3         Even in light of the rulings in Grabowski v. Arizona Board of Regents, 69 F.4th 1110, 1116
 4 (9th Cir. 2023) and Doe v. Snyder, 28 F.4th 103 (9th Cir. 2022), the Court has refused to extend
 5 Bostock’s reasoning regarding sex discrimination encompassing transgender individuals to
 6 “bathrooms, locker rooms, or anything else of the kind.” See Roe by & through Roe v. Critchfield,
 7 No. 23-2807, 2025 WL 865721, at *27-28 (9th Cir. Mar. 20, 2025)(emphasis added). See c.f.
 8 Tennessee v. Cardona, 2024 WL 3453880 (6th Cir. 2024)(“we have been skeptical of attempts to
 9 export Title VII’s expansive meaning of sex discrimination to other settings.”). When Title IX
10 was enacted, the term ‘sex’ did not contemplate one’s gender identity and it was also so assumed
11 that sports teams were separated according to biological sex that it did not warrant further
12 explanation in the statute.
13         Indeed, Title IX’s implementing regulations also expressly permit sex-segregated sports
14 teams. See 34 C.F.R. § 106.41(b)–(c); Williams v. Sch. Dist. of Bethlehem, 998 F.2d 168, 175 (3d
15 Cir. 1993); Lafler v. Athletic Bd. of Control, 536 F. Supp. 104, 106 (W.D. Mich. 1982). While the
16 Ninth Circuit refused to narrowly construe 20 U.S.C. § 1686 to carve out only living facilities as
17 able to be separate based on male and female, and not more intimate spaces, like restrooms, locker
18 rooms, and shower rooms, so as here should the Court refuse to narrowly construe the statute to
19 disallow athletic teams to be separate based on biological sex when this was always so assumed
20 since the statute’s inception. See Critchfield, No. 23-2807, 2025 WL 865721 at 33. The Ninth
21 Circuit further explained that the Supreme Court in Bostock failed to address “bathrooms, locker
22 rooms, or anything else of the kind.” Critchfield, No. 23-2807, 2025 WL 865721 at 28 (quoting
23 590 U.S. at 681). Thus, Bostock’s reasoning regarding Title VII, and the Ninth Circuit’s
24 subsequent interpretation in Doe v. Snyder regarding sex discrimination in Title VII as consistent
25 with Title IX is not useful, in this instance. There is no binding legal precedent that has interpreted
26 Title IX from precluding separate sports teams based on biological sex as constituting sex
27 discrimination. In fact, there is support for quite the opposite.
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 1         As stated, the most recent Executive Order requires that sports teams shall be separated by
 2 biological sex as compliant with Title IX. The Ninth Circuit has also upheld the inherent privacy
 3 in locker rooms, which should be separate. See Critchfield, No. 23-2807, 2025 WL 865721 at 3-
 4 3, 19-20 (finding the district court properly concluded that the State’s interest in protecting
 5 students’ bodily privacy is an important objective for purposes of intermediate scrutiny when it
 6 reasoned that the State’s privacy interest is especially important for school-aged children who are
 7 still developing). This is in line with the February 5, 2025 Order that tasks the Secretary of
 8 Education with “tak[ing] all appropriate action to affirmatively protect all-female athletic
 9 opportunities and all-female locker rooms and thereby provide the equal opportunity guaranteed
10 by Title IX of the Education Amendments Act of 1972.”
11         The SWSA is not in violation of Title IX, and Defendant Horne cannot be in violation of
12 Title IX for enforcing this law. The SWSA furthers the directives on Title IX from the President
13 of the United States and as supported by the U.S. Department of Education and Office of Civil
14 Rights, which is consistent with the statute’s legislative intent by designating sports teams by the
15 biological sex of the students who participate, with no other conflicting directives that control on
16 this issue. Title IX, like the SWSA, supports equal opportunity for biological women. In support
17 of this directive, Defendant Horne is not in violation of Title IX for SWSA’s enforcement.
18                                           CONCLUSION
19         For the reasons stated, and in consideration of the Legislative Leaders’ motion for summary
20 judgment as incorporated here, Defendant Horne respectfully requests that the Court grant
21 summary judgment on Plaintiffs’ claims.
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 1         RESPECTFULLY SUBMITTED on April 30, 2025.
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16
17
18                                  CERTIFICATE OF SERVICE
19         I hereby certify that on April 30, 2025, I electronically transmitted the attached document
20 to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic
21 Filing to the CM/ECF registrants.
22
23 /s/ Christine M. Ferreira
24
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27
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